Case 2:20-cv-12880-JKS-JSA Document 191 Filed 12/07/23 Page 1 of 1 PageID: 4992




                                        UNITED STATES DISTRICT COURT
                                                    for the
                                           DISTRICT OF NEW JERSEY


Daniel D'Ambly

                             Plaintiff(s),                      REQUEST BY LOCAL COUNSEL
                                                                FOR PRO HAC VICE ATTORNEY TO
            v.                                                  RECEIVE ELECTRONIC
                                                                NOTIFICATION

Christian Exoo, et al.,                                         Civil Action No. 2:20-cv-12880-JXN-JSA
                             Defendant(s)




            Request is hereby made by local counsel for pro hac vice counsel to receive electronic notifications in the
 within matter, and it is represented that:

                 1.   An order of the Court granting a motion to appear pro hac vice in the within matter has
                      been entered; and

                 2.   If admission was granted after March 22, 2005, the Admission Fee, in the amount of $150,
                      pursuant to L.Civ.R. 101.1(c)(3), has been paid to the Clerk of the Court.


                                                                                       /s/ Lindsay F. Ditlow
                                                                                    Signature of Local Counsel


 PRO HAC VICE ATTORNEY INFORMATION:

                      Emily Starbuck
 Name:                ____________________________
                      444 W Lake Street
 Address:             ____________________________
                      Suite 4000
                      ____________________________
                      Chicago IL 60606-0029
                      ____________________________

                      ____________________________
                      estarbuck@mwe.com
 E-mail:              ____________________________
                       2QHHPDLODGGUHVVRQO\




                                                                                                                  DNJ-CMECF-002 |
